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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
                                                     Civil Action No. 18-cv-11028
              Plaintiffs,

                      v.
                                                     JURY TRIAL DEMANDED
MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,

              Defendants.



                            CORPORATE DISCLOSURE STATEMENT

        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, plaintiff Hittite Microwave

 LLC states that its parent corporation is Analog Devices Global U.C., and that it is ultimately

 wholly owned by Analog Devices, Inc.

     Dated: May 21, 2018                            Respectfully submitted,

                                                    HITTITE MICROWAVE LLC

                                                    By their attorneys,

                                                    /s/ Steven M. Bauer
                                                    Steven M. Bauer (BBO No. 542531)
                                                    Kimberly A. Mottley (BBO No. 651190)
                                                    Safraz W. Ishmael (BBO No. 657881)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on May 21, 2018, I electronically filed the foregoing with the Clerk
of the Court by using CM/ECF system. A copy of the document will be served upon all parties
along with the summons and complaint.

                                               /s/ Steven M. Bauer
                                               Steven M. Bauer




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